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                                       UNITED STATES BANKRUPTCY COURT
                                     FOR THE WESTERN DISTRICT OF MICHIGAN

     In re:
                                                                                                Case No.: 23-01335
     Holden II, Perry                                       ,                                   Chapter 13
                                                                                                Hon. James W. Boyd
                                          Debtor.,                                              Filed: 6/9/2023
                                                            /


                                                 ORIGINAL CHAPTER 13 PLAN
PREAMBLE

To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable.

                  In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.

                   You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do
                   not have an attorney, you may wish to consult one.

                   If you oppose the Plan’s treatment of your claim, or any provision or paragraph of this Plan, you or your attorney must
                   file an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise
                   ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this Plan without further notice if no objection to
                   confirmation is filed. See Fed. R. Bankr. P. 3015. In addition, you may need to file a timely proof of claim in order to be
                   paid under any Plan.

                   The following matters may be of particular importance. Debtors must check one box on each line to state whether or
                   not the Plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked,
                   the provision will be ineffective if set out later in the Plan.

     A limit on the amount of a secured claim, set out in Paragraphs III.C.1.c, III.C.1.h, and/or          Included          Not included
     III.C.2.c, which may result in a partial payment or no payment at all to the secured creditor
     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out           Included           Not included
     in Paragraph IV.R.
     Nonstandard provisions, set out in Paragraph IV.R.                                                    Included           Not included


I.     PLAN PARAMETERS
       A. APPLICABLE COMMITMENT PERIOD (ACP) – 11 U.S.C. § 1325(b)(4).
              (X) The ACP is 60 months.
              (   ) The ACP is 36 months. However, the duration of payments may be extended to complete the Plan.
        B.    LIQUIDATION ANALYSIS.
              1. Debtor(s) assert(s) the non-exempt equity in the case is $ 13.91                 .
              2. The liquidation value of the estate as required by 11 U.S.C. § 1325(a)(4) is $0.00                      . This amount
                 represents the calculation by the Debtor(s) of non-exempt equity in the case, minus priority unsecured claims and other
                 allowable deductions.


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II.   FUNDING
      A. PLAN PAYMENT. The Debtor(s) shall make payments in the amount of $3,750.00        ( ) weekly, ( ) bi-weekly, ( ) semi-
         monthly, (X) monthly for the minimum of the ACP, subject to changes as set forth in Paragraph II.B or II.C, below, or until
         further order of the Court.
      B.   (    ) FUTURE PLAN PAYMENT INCREASES.
           The Debtor(s) shall increase payments by $                               ( )weekly, ( ) bi-weekly, ( ) semi-monthly, ( ) monthly effective
                                        due to                                                                                         .
           The Debtor(s) shall increase payments by $                                 ( )weekly, ( ) bi-weekly, ( ) semi-monthly, ( ) monthly
           effective                           due to                                                                                                              .
      C.   ( ) OTHER PLAN PAYMENT PROVISIONS. Please see additional provisions under Paragraph IV.R for additional funding
           information (e.g. lump sum payments through sale of real property).


III. DISBURSEMENTS
      A. ADMINISTRATIVE CLAIMS. The Debtor(s) shall pay in full, in deferred cash payments, all allowed claims entitled to priority
         under 11 U.S.C. § 507, including:
           1.   Court filing fee.
           2.   Trustee fee.
           3.   Attorney fees exclusive of costs and expenses: An initial fee of $3,500.00 less fees paid of $1,500.00 , leaving a fee
                balance in the amount of $2,000.00      to be disbursed by the Trustee pursuant to the priorities set forth in paragraph
                IV.H of the Plan, unless otherwise marked below:
                a.    ( ) Attorney fees shall be paid at the rate of $                                per month until paid in full pursuant to Paragraph IV.H
                      of the Plan.
                b.    ( ) Attorney fees shall be paid after all necessary equal monthly payments on secured continuing claims, secured
                      claims, assumed executory contract/unexpired lease claims which is a modification of Paragraph IV.H.
           4.   Expenses advanced to the Debtor(s) (paid by the attorney to the Clerk of the Court or the service provider) include:
                $                 filing fee (enter amount or N/A);
                $                 mandatory credit counseling or financial management class (enter amount or N/A); and
                $                 other (explain and enter amount, or enter N/A).

      B.   PRIORITY CLAIMS.
           1.   Domestic Support Obligation (DSO)i: Prepetition DSO payment arrears as of the petition date shall be paid directly by
                the Debtor(s) unless marked below:
                      (   ) by the Trustee.
           Mandatory information:
                          Name of DSO Payee(s)                                            Monthly Amount                                Estimated Arrears


           2.   a.    Prepetition Priority Tax Claims: Prepetition priority tax claims are allowed claims entitled to priority under 11
                      U.S.C. § 507 and shall be paid in full by the Trustee.
           Mandatory information:
      Creditor Name                                                            Estimated Amountii                                    Nature of Debt




i
 The Debtor(s) will comply with 11 U.S.C. § 1325(a)(8) and shall, prior to confirmation of the Plan, provide the Trustee with an affidavit or other evidence (e.g., wage
deduction, a statement from friend of the court, or a statement from the recipient) that all post-petition, pre-confirmation DSO payments are current.

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    P.     Post-Petition Priority Tax Claims: Absent objection, post-petition priority tax claims shall be paid in full pursuant to11 U.S.C. §
           1305(a)(1) and (b). Any portion of a post-petition claim under 11 U.S.C. § 1305 that is not paid through the Plan for whatever
           reason, including dismissal or conversion to Chapter 7, will remain non-dischargeable, even if the Debtor(s) receive(s) a
           discharge.
         Creditor Name                                              Estimated Amountii                            Nature of Debt
     Internal Revenue Service                                                    $54,859.31                             Income Tax & Penalties for 2020-2022
     P.O. Box 7346                                                *See Section I.V.R. (3) for plan treatment
     Philadelphia, PA 19101-7346
     MI Department of Treasury                                                        $986.00                           Income Tax & Penalties for 2019-2022
     P.O. Box 30199
     Lansing, MI 48909

     C.     SECURED CLAIMS.
            1.    Real Property:
                  a.   Mortgage Payments: Unless otherwise stated, the Trustee shall commence paying the first post-petition mortgage
                       payment on the first day of the month following the month of the petition date.
                  b.   Principal Residence Post-Petition Mortgage Payments and Prepetition Arrears: The following is the street address
                       and the tax ID parcel no. for the principal residence of the Debtor(s):
                       Residence address and tax parcel ID no. 4694 Westshire Dr. NW, Comstock Park, MI 49321-9324 & 41-09-25-332-
                       008

    Creditor Name                              Estimated Monthly             Estimated Arrearsiv            Taxes & Insurance Escrowed                 Trustee Pay
                                               Payment Amountiii                                                   With Lender?                        Y/N
                                                                                                                        Y/N
  LoanCare LLC                                       $1,352.94                       $8,794.38                                Y                                Y
  ATTN: Bankruptcy Department
  P.O. Box 8068
  Virginia Beach, VA 23450
  Acct no.: 7075
  Unisom Agreement Corp                                 $0.00                       $35,000.00                                N                                N
  650 California Street STE 1800
  San Fransisco, CA 94108
  Secretary of Housing & Urban                          $0.00                       $19,101.74                                N                                N
  Development
  451 Seventh St SW
  Washington, DC 20410

                 c. ( ) Mortgage principal and interest on one or more mortgages on the principal residence to be paid in full over term
                 of plan under 11 U.S.C. § 1322(c)(2). This/these mortgage(s) will no longer be treated as having ongoing, continuing
                 mortgage payments under Paragraph IV.H.1.e, and will otherwise be paid as part of the class of creditors in Paragraph
                 IV.H.1.f of the Plan. Any other payment conditions will be set forth in Paragraph IV.R.
                 d.    Non-Residential Post-Petition Mortgage Payments and Prepetition Arrears: The following is the street address and
                       the tax ID parcel no. for the non-residential real property of the Debtor(s):
            Property No. 1                                                          Property No. 2

                          Creditor Name                                 Estimated Monthly              Estimated Arrearsiv              Taxes & Insurance
                                                                        Payment Amountiii                                             Escrowed With Lender?
                                                                                                                                               Y/N



ii The amount stated is an estimate only and the proof of claim controls as to the amount of the claim. This provision does not preclude any party in interest from filing
an objection to the claim.
iii The monthly payment amount is an estimate and the Trustee shall pay the monthly payment amount based on the proof of claim as filed. The Plan authorizes the
Trustee to make post-petition regular mortgage or land contract payments prior to the proof of claim being filed. This provision does not preclude any party in interest
from filing an objection to the claim.
iv The amount of prepetition arrears is an estimate and the Trustee shall pay the prepetition arrears based on the proof of claim as filed. Any claim filed for prepetition
arrears shall be paid through the Plan over a reasonable period of time and pro-rata with other secured creditors without interest.
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                       The treatment of any non-residential mortgage subject to “cram down,” and being paid in full over the life of the
                       plan under 11 U.S.C. § 1322(c)(2) is set forth in Paragraph IV.R.


                e.     Condominium Association Dues: Unless otherwise stated, the Trustee will calculate the payments due from the first
                       day of the month following the month of the petition date. If the creditor appears in this section it will be paid as a
                       real property secured creditor, even if the creditor also appears in Paragraph III.D dealing with executory contracts.
                           Condominium Association Name                         Property Address                   Estimated                  Estimated Arrearsv
                           and Address                                                                              Monthly
                                                                                                                Payment Amount




                f.    Prepetition Real Property Tax Claims: Claims of taxing authorities on real property pursuant to State law will be paid
                       pro-rata as set forth in Paragraph IV.H unless a fixed monthly payment is set forth below after the post-petition on-
                       going mortgage payment(s).vi
                           Taxing Authority                                            Amount                       Delinquent                  Optional Equal
                                                                                                                     Tax Years                 Monthly Payment




                 g.    Real Property Tax Escrow:
                       The Debtor(s) will not utilize a tax escrow with the Trustee unless marked below.
                       ( ) The Debtor(s) will utilize a tax escrow through the Plan. The Debtor(s) must provide the tax bill to the Trustee and
                       verify taxes are paid each year until completion of the Plan. Tax escrow accounts will fund after on -going monthly
                       mortgage payments but prior to other secured creditors.
                           Real Property Address                                  Parcel Number                 Taxing Authority                Monthly Escrow
                                                                                                                                                  Amount




                 h. Wholly Unsecured Claims: The following claims shall be treated as unsecured by this Plan because there is no equity
                    in the property to secure the claim. Upon completion of the Plan, the lien shall be discharged and removed from the
                    property. The Debtor(s) may move under Fed. R. Bankr. P. 7070, on notice to the holder of such a claim who refuses
                    to release the lien, for an order declaring the lien released and for related relief. These claims are as follows:




v
  The amount of prepetition arrears is an estimate and the Trustee shall pay the prepetition arrears based on the proof of claim as filed. Any claim filed for prepetition
arrears shall be paid through the Plan over a reasonable period of time and pro-rata with other secured creditors without interest. This provision does not preclude any
party in interest from filing an objection to the claim.


vi
  Any creditor in this class shall retain its lien on the real property pursuant to applicable State law and shall be entitled to receive its statutory interest and collection
fees as set forth in its proof of claim. This provision does not preclude any party in interest from filing an objection to the claim.



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                          Property Address                        Creditor                     Claim Amountvii            Property                Senior Lien
                                                                                                                           Value                   Amount




           2.    Personal Property:
                 a.   Pre-Confirmation Adequate Protections Payments (APP): If the Trustee is to pay pre-confirmation APP the secured
                      creditor’s name, address, the account number and the payment amount must be provided and it must be signified
                      by entering the monthly payment amount in the box marked “Pre-Conf. APP” under b. or c. of this paragraph. The
                      Trustee will not disburse an APP until a proof of claim is filed with documentation of a perfected lien satisfactory to
                      the Trustee.
                 b.   Secured Claims Subject to Final Paragraph of 11 U.S.C. § 1325(a): Each secured creditor in this class has a lien that
                      is not subject to 11 U.S.C. § 506.viii Claims in this class shall be paid as follows, plus an additional pro-rata amount
                      that may be available from funds on hand, at an interest rate specified below, or the contract rate specified in the
                      proof of claim, whichever is lower.
                        Creditor, Address &                      Collateral                   Balance Owing         Interest      Pre-Conf.        Equal Monthly
                        Account No.                                                                                   Rate          APP              Payment
                      Ally Financial, Inc                    2022 CR-V Honda                      $34,875.00           7%           $609.00             $609.00
                      ATTN: Bankruptcy
                      500 Woodard Ave
                      Detroit, MI 48226
                      Acct No.: 5948
                 c.   Secured Claims Subject to 11 U.S.C. § 506ix: Claims in this class shall be paid as follows, plus an additional pro-rata
                      amount that may be available from funds on hand at an interest rate specified below, or the contract rate specified
                      in the proof of claim, whichever is lower. Creditor will be paid the lesser of the balance due as a secured claim as set
                      forth in the proof of claim, or the fair market value (FMV) of the collateral as a secured claim, with any balance due
                      over FMV treated as a general unsecured claim.
                          Creditor, Address &                    Collateral                            FMV          Interest      Pre-Conf.        Equal Monthly
                           Account No.x                                                                               Rate          APP              Payment




           3.    Secured Claims of Taxing Authorities: Secured claims of taxing authorities shall be paid as follows, plus an additional
                 pro rata amount that may be available from funds on hand:



vii
   This is the estimate of the Debtor(s) as to the amount owing to the creditor. The proof of claim shall control as to amount of the claim. This provision does not
preclude any party in interest from filing an objection to the claim.

viii
   Such a claim is not subject to “cramdown” and will be paid the full balance owing. If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent
from the secured creditor and Trustee, or by order of the Court, may use the collateral insurance proceeds to purchase replacement collateral, to which the creditor’s
lien shall attach.

ix
  If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the secured creditor and Trustee or by order of the Court, may use the
collateral insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.

x
 If the creditor files a proof of claim with a balance owing which is different from the amount listed above, the proof of claim shall control as to the amount of the
debt, unless a party in interest objects to the proof of claim.




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                    Creditor & Address                            Collateral                           Secured Claim          Interest         Equal Monthly
                                                            Real/Personal Property                       Amountxi              Ratexii           Payment




           4.    Collateral to Be Surrendered/Executory Contracts to Be Rejected: The property listed below is surrendered to the
                 creditor, and the executory contracts/unexpired leases are rejected:
                    Creditor                                                                             Property/Contract Description
                   Ally Financial, Inc                                                                           2022 CR-V Honda
                   ATTN: Bankruptcy
                   500 Woodard Ave
                   Detroit, MI 48226
                   Acct No.: 5957
                 The automatic stay shall be terminated upon entry of the confirmation order and any deficiency claim or claim arising
                 from rejection shall be treated as a general unsecured claim, subject to Paragraph IV.G. Any co-debtor stay shall also be
                 terminated upon entry of the confirmation order, absent a clear statement to the contrary in Paragraph IV.R.

           5.    Junior Lien Holders on Surrendered Property: If a creditor holding a junior lien has filed a secured proof of claim, such
                 claim shall be treated as a general unsecured claim if the value of the property, set forth below in the column entitled
                 “Property Value,” is equal to or less than the amount of the senior secured claim, absent an objection. These creditors
                 are as follows:
                    Creditor, Address &                        Property Address                  Claim Amountix         Property Value              Senior Lien
                    Account No.                                                                                                                      Amount



      D. ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following executory contracts and/or unexpired leases,
         including land contract(s), are assumed:
                Non-Debtor Party’s Address             Property Description                      Monthly Payment            No. of Months           Cure Amount
                & Account No. (indicate                                                             Amount                   Remaining
                payee or payor)



      E.   1. DIRECT PAYMENT BY THE DEBTOR(S) OF THE FOLLOWING DEBTS. All claims shall be paid by the Trustee unless listed
           herein:
                Creditor, Address & Account No.                                 Collateral/Obligation                       Balance Owing                Interest
                                                                                                                                                           Rate
             Lending Point, LLC                                       4694 Westshire Dr. NW, Comstock                          $19,214.00                 14.99%
             1201 Roberts Blvd Ste 200                                Park, MI 49321/Home Improvement
             Kennesaw, GA 30144                                                     Loan
             Acct No.: 4685
             Secretary of Housing & Urban Development                  4694 Westshire Dr. NW, Comstock                         $19,101.74                    0%
             451 Seventh St SW                                             Park, MI 49321/Mortgage
             Washington, DC 20410
             Unisom Agreement Corp                                     4694 Westshire Dr. NW, Comstock                         $47,250.00                    0%
             650 California Street STE 1800                                Park, MI 49321/Mortgage
             San Fransisco, CA 94108
           2. If the payments are being made by Debtor(s) as the disbursing agent on claims under Paragraph III.E.1, creditors
           may send regular payment statements or coupons as is customary or provided for under any applicable loan documents,

xi
   The amount stated is an estimate only and the proof of claim controls as to the amount of the claim. This provision does not preclude any party in interest from
filing an objection to the claim.
xii
  The interest rate on tax claims that is in effect during the calendar month in which the plan is confirmed shall control. 11 U.S.C. § 511(b). The Trustee has the
authority to make adjustments to its records to comply with the Bankruptcy Code.
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               except as may be limited by Paragraph IV.R of the Plan or by limitations prescribed in 12 C.F.R. § 1026.41 or other
               applicable Rules.

         F.    UNSECURED CREDITORS.
                     General Unsecured Creditors: Claims in this class are paid from funds available after payment to all other classes. The
                     allowed claims of general unsecured creditors will be satisfied by:
                     (   ) Payment of a dividend of 100%, plus present value of                            % interest, if necessary to satisfy 11 U.S.C. § 1325(a)(4),
                           OR
                     (X) Payment of a pro-rata share of a fixed amount of $100.00 or payment of all disposable income to be received or by the
                          Debtor(s) in the ACP, whichever pays more. This fixed amount shall be reduced by additional administrative expenses
                          including attorney fees approved under 11 U.S.C. § 330(a). However, this fixed amount shall not be reduced below
                          the liquidation value specified in Paragraph I.B.2
       G.      SPECIAL UNSECURED CREDITORS. The special unsecured claims listed below are an exception pursuant to 11 U.S.C.
                   § 1322(b)(1) and may include, but are not limited to, non-sufficient funds (NSF) checks, continuing professional services
                   and non-dischargeable debts (e.g., student loans, criminal fines).xiii These special unsecured claims shall be paid as
                   follows:
                     In a 36 month ACP case with the base to general unsecured creditors paid within 36 months, the special unsecured
                     creditors will be paid pro rata with other general unsecured claims during the first 36 months and then that portion of
                     the special unsecured creditor’s claim that can be paid during the remainder of the 60 months from the date the first
                     Plan payment is due will be paid exclusive of all other general unsecured claims during the remaining 60 months.
                     In a 36 month ACP case with the base to general unsecured creditors paid beyond 36 months, the special class
                     unsecured creditors will be paid pro rata with other general unsecured claims during the first 36 months and until the
                     specific fixed base amount to the general unsecured creditors is satisfied and then that portion of the special unsecured
                     creditor’s claim that can be paid during the remainder of the 60 months from the date the first Plan payment is due will
                     be paid exclusive of all other general unsecured claims during the remaining 60 months.
                     In a 60 month ACP case, special unsecured creditors will be paid pro rata with the general unsecured creditors during
                     the 60 months.
                         Special Unsecured Creditor Name                                               Reason For Special Treatment                     Interest
                                                                                                                                                       Rate if Paid
                                                                                                                                                         in Full




IV. GENERAL PROVISIONS

         A. DISPOSABLE INCOME, TAX RETURNS & TAX REFUNDS. Debtor(s) submit(s) all or such portion of future earnings or other
         future income of Debtor(s) to the supervision and control of the Trustee as is necessary for the execution of the Plan. Unless this
         Plan provides for a dividend of 100% to all allowed general unsecured claims, the Debtor(s) shall pay all disposable income as
         defined in 11 U.S.C. § 1325(b) during the ACP. Unless otherwise provided in this Plan, Debtor(s) shall remit to the Trustee tax
         returns and tax refunds and other disposable income for the ACP for administration pursuant to the Plan or as otherwise ordered
         by the Court. Income tax refunds and other disposable income paid to the Trustee in a Plan with a 36 month ACP will operate to
         decrease the term of the Plan to the ACP but not below the 36 month ACP, rather than increase the dividend paid to general
         unsecured creditors. The Debtor(s) shall continue the same level of tax deductions as when the case was filed except as affected
         by changes in dependents and/or marital status.
               Based on the disposable income available, the Trustee shall have the discretion without further notice to creditors to:
                           1.   Increase the percentage to the unsecured creditors as a result of additional payments made under this provision
                                subject to the limitation set forth in this Paragraph;
                          2.    Reduce the term of the Plan but not below the ACP; and
                           3.   Determine if available funds are not disposable income when the Debtor(s) provide(s) the Trustee with
                                supporting documentation.


xiii
       If the table below is blank, or this case has a 60 month ACP, then there will be no special treatment for special unsecured creditors.
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B.   VESTING OF ESTATE PROPERTY. Upon confirmation of the Plan, all property of the estate shall remain property of the estate
     until discharge unless marked below:
     (X ) Pursuant to 11 U.S.C. § 1327(b) upon confirmation of the Plan, all property of the estate shall vest in the Debtor(s), except
     (i) future earnings of the Debtor(s); (ii) additional disposable income, and (iii) other real and personal property necessary to
     fund the Plan which is identified as follows:
                        Regardless of whether any real or personal property is vested in the Debtor(s) or the estate, insurance
              proceeds derived from such real or personal property shall be deemed property of the estate. Subject to footnotes
              vii and viii of paragraph III.C.2, such insurance proceeds may be used by the Debtor(s), upon prior Court approval, to
              purchase replacement collateral.
                      In any case, all property of which Debtor(s) retain(s) possession and control shall be insured by the
              Debtor(s). The Trustee is not required to insure property and has no liability for damage or loss to any property in
              the possession and control of the Debtor(s).
C.   POST-PETITION ACTION BY DEBTOR(S).
     1.   Post-Petition Sale of Property of Estate: In the event that the Debtor(s) seek(s) to sell, before entry of the discharge,
          property of the estate constituting personal property with a value in excess of $2,500, or any real property regardless of
          value, the Debtor(s) shall request prior Court approval pursuant to 11 U.S.C. § 363 and any applicable rules.
     2.   Post-Petition Sale of Property of Debtor(s): In the event that the Debtor(s) seek(s) to sell, before entry of the discharge,
          personal property of the Debtor(s) with a value in excess of $2,500, or any real property regardless of value, the Debtor(s)
          shall seek prior Court approval with notice to any parties in interest as the Court may direct.
     3.   Post-Petition Incurrence of Debt by Debtor(s) and Related Relief to Procure a Vehicle: Upon the prior written approval
          of the Trustee, the Debtor(s) may incur post-petition debt for a motor vehicle, whether through financing or lease
          transaction. The Debtor(s) may trade in an existing motor vehicle provided that the Debtor(s) satisfy in full any obligations
          related to such motor vehicle.
     4.   Post-Petition Incurrence of Debt by Debtor(s) for Purposes other than Vehicle Procurement: Upon the written approval
          or ratification of the Trustee, the Debtor(s) may engage in post-petition borrowing up to $2,500.00 for necessary
          household expenses, including, but not limited to, vehicle repairs, home repairs, or appliance replacement. For anything
          other than post-petition incurrence of debt addressed by Paragraph IV.C.3, Court approval is required for incurring debt
          in excess of $2,500.00.
D. UNSCHEDULED CREDITORS FILING CLAIMS. If a creditor’s claim is not listed in the schedules, but the creditor files a proof
   of claim, the Trustee is authorized to classify the claim into one of the classes under this Plan and to pay the claim within
   the class, unless the claim is disallowed.
E.   LATE FILED CLAIMS. If a claim is not timely filed, the Trustee may in his/her discretion provide notice of intent to pay the
     claim.
F.   LIMITATION ON NOTICES.
     1.   General: If the Debtor(s) file(s) a plan modification pursuant to 11 U.S.C. § 1329 or a motion requesting relief, the plan
          modification or motion, and appropriate notice thereof, shall be served on (a) the Trustee, (b) the United States Trustee,
          and (c) any party or entity adversely affected by the plan modification or request for relief. If service under (c) requires
          service on the creditor matrix, subsequent to the claims bar date pursuant to Fed. R. Bankr. P. 3002, service may be made
          on creditors that hold claims for which proofs of claim have been filed, and any governmental unit that is a creditor in
          the case.
     2.   Fee Applications: Subsequent to the claims bar date pursuant to Fed. R. Bankr. P. 3002, if an attorney for the Debtor(s)
          files an application for compensation pursuant to 11 U.S.C. § 330, the application, including appropriate notice and an
          opportunity to object, shall be served on (a) the Trustee, (b) the Debtor(s), and (c) the United States Trustee. Appropriate
          notice of the application, including an opportunity to object in the same form as attached to the Local Bankruptcy Rules,
          shall be served on (a) creditors that hold claims for which proofs of claim have been filed, and (b) any governmental unit
          that is a creditor in the case.
     If service is made pursuant to this Paragraph, the Debtor(s) shall file a certificate of service specifying parties and entities
     served.
G. CLAIMS AND AMENDED CLAIMS. If a proof of claim is filed and Trustee has previously made a distribution to general
   unsecured creditors, the claim shall be entitled to the same pro rata distribution as that previously paid to general unsecured
   claims, to the extent possible, even if the base to general unsecured claims exceeds the amount stated in the confirmed Plan.
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           The Trustee shall not be required to recover any overpayments to general unsecured creditors as a result of the filing of the
           aforementioned claims.
           1.   With respect to secured claims filed by creditors holding liens in real property surrendered pursuant to the Plan, each
                such secured creditor must file a proof of claim asserting its unsecured deficiency, if any, by no later than 90 days after
                any disposition, including a foreclosure sale. The proof of claim for any deficiency must be conspicuously identified as an
                “UNSECURED DEFICIENCY CLAIM.” Attached to the proof of claim for the deficiency amount must be a detailed statement
                providing that the property was disposed of, the amount of the sale proceeds, a summary of costs incurred inconnection
                with the disposition, and the unsecured deficiency balance remaining. This proof of claim must be filed eventhough a
                previous secured or unsecured claim was asserted prior to the disposition of the property. The failure to timelyfile a
                deficiency claim shall preclude the secured creditor from receiving further distributions under the Plan and such secured
                creditor’s claim shall be subject to discharge.
           2.   With respect to secured claims filed by creditors holding liens in personal property surrendered pursuant to the Plan and
                non-debtor counterparties whose executory contracts or unexpired leases are rejected under the Plan, each such secured
                creditor or non-debtor counterparty must file a claim asserting its unsecured deficiency or rejection damages, if any, by
                no later than 180 days after entry of the order confirming the Plan. The proof of claim for any deficiency or rejection
                damages must be conspicuously identified on the proof of claim as an “UNSECURED DEFICIENCY CLAIM” or a “REJECTION
                DAMAGES CLAIM,” as applicable. Attached to the proof of claim for the deficiency or rejection damages must be a
                detailed statement providing, if applicable, the date the property was disposed of, the rejection damages, the amount
                of any sale proceeds, a summary of costs incurred in connection therewith, and the unsecured deficiency balance
                remaining. This proof of claim must be filed even though a previous secured or unsecured claim was asserted prior to
                the surrender, rejection, or disposition of the property or rejection of the executory contract or unexpired lease. The
                failure to timely file a deficiency or rejection damages claim means that such creditor or non-debtor counterparty shall
                be precluded from receiving further distributions under the Plan and such claim shall be subject to discharge.
           3.   A claimant treated as holding a wholly unsecured claim pursuant to Paragraph III.C.1.f shall file a proof of claim within
                the time prescribed in Fed. R. Bankr. P. 3002(c), and any such claimant who does not file a proof of claim is not entitled
                to receive a distribution under the Plan. If such claimant files a secured proof of claim, the Trustee is authorized to treat
                such claimant as holding an unsecured claim.


           H. TRUSTEE POST-CONFIRMATION DISBURSEMENT.
                1.    Priority of Payments: Unless otherwise specifically stated in the Plan, the following categories of claims will be paid
                      in the following order (on a pro-rata basis within each category):
                      a.   unpaid court filing fees, regardless of any Plan provision to the contrary;
                      b.   trustee administrative fee;
                      c.   allowed DSO claims paid through the Plan;
                      d.   attorney fees and expenses, as allowed by an Order of the Court, subordinated to monthly continuing claims
                           payments covered under 11 U.S.C. § 1322(b)(2);
                      e.   continuing, long-term, nonmodifiable allowed claimsxiv;
                      f.   other allowed secured claims (including arrears), including, but not limited to, residential and non-residential
                           mortgages that shall be paid in full during the life of the plan, and allowed claims arising from assumed executory
                           contracts or unexpired leases (including any cure) with respect to which (i) the last payment will become due
                           within the term of the Plan; and (ii) the Plan provides for equal monthly payments;
                      g.   arrears on continuing claims and other secured claims for which the Plan does not specify equal monthly
                           payments;
                      h.   allowed priority unsecured claims; and
                      i.   allowed general unsecured claims.
                2.    Post-Petition Mortgage Payments: If the Plan directs the Trustee to make any post-petition mortgage payment, the
                      Trustee may:

xiv
   Claims in this category include non-modifiable claims, including allowed secured claims, on which the last payment is due after the term of the Plan, and for which
the Plan provides for a set monthly payment (subject to adjustment as set forth below). This category includes residential mortgage obligations, condominium
association dues, land contract obligations, and other long term, non-modifiable obligations under assumed executory contracts/unexpired leases.
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               a.   modify the on-going mortgage payment upon receiving a notice pursuant to Fed. R. Bankr. P. 3002.1(b);
               b.   increase the Plan payment by the amount of any mortgage payment increase plus additional trustee commission
                    for any mortgage increase;
               c.   amend a wage order or ACH payment amount for such increase with notice to the employer or ACH payor,
                    Debtor(s) and the attorney for the Debtor(s); and
               d.   adjust the post-petition mortgage or land contract payment date, or the date through which any arrears or cure
                    is calculated, as needed to conform to any proof of claim filed by the mortgagee or land contract vendor.
          3.   Initial Disbursement Date: Except as otherwise stated in this Plan, a payment designated as equal monthly payments
               on secured claims, executory contracts/unexpired leases, priority unsecured claims, attorney fees, and tax escrow
               accruals shall be deemed to commence the first day of the month following the month of the petition date.
I.   TAX RETURNS. All tax returns due prior to the petition date have been filed, except: 2019, 2020, 2021, and 2022 .
J.   DEBTOR(S) ENGAGED IN BUSINESS.
     1.   Any Debtor who is self-employed and incurs trade credit in the production of income shall comply with 11 U.S.C. § 1304
          regarding operation of the business and any order regarding the continuation of a business operation entered in this
          case;
     2.   Any Debtor who, directly or indirectly, holds a controlling interest in a limited liability company, partnership or other
          corporation that incurs trade credit in the production of income, or who is otherwise in control of such an entity, shall
          cause the entity to comply with 11 U.S.C. 1304(c) and any order regarding continuation of a business operation entered
          in this case as if the Debtor were "engaged in business" within the meaning of that section;
     3.   The duties listed in 11 U.S.C. § 1304(c) are imposed on any Debtor described in this Paragraph IV.J, and are incorporated
          herein by reference.
K.   EFFECT OF ADDITIONAL ATTORNEY FEES BEYOND THE NO LOOK FEE. Any attorney fees and expenses beyond the no-look
     fee shall be paid as administrative expenses and shall not be paid out of the base previously disbursed to general unsecured
     creditors. The Trustee shall not recover funds disbursed to general unsecured creditors to satisfy any administrative expenses
     awarded to the attorney for the Debtor(s).
L.   PLAN REFUNDS. The Trustee may agree to reasonable refunds to the Debtor(s) from the funds paid to the Trustee. The Plan
     duration may be extended to repay all such refunds. The trustee may require the Debtor(s) to file an amendment to the Plan.
M. TRUSTEE’S AVOIDANCE POWERS. The Debtor(s) acknowledges that the Trustee has discretion to utilize certain powers under
   Chapter 5 of the Bankruptcy Code. Notwithstanding any other language in this Plan, no lien shall be involuntarily avoided
   unless an adversary proceeding is filed, except that judicial liens may be avoided pursuant to 11 U.S.C. § 522(f) in connection
   with confirmation of the Plan upon proper notice. The Debtor(s) may not commence any avoidance action without court
   authorization or written consent of the Trustee. The Debtor(s) acknowledge(s) that any avoidance actions are preserved for
   the benefit of the estate pursuant to 11 U.S.C. § 551.
N. LIEN RETENTION. With respect to each allowed secured claim provided for by the Plan, the holder of such claims shall retain
   the lien securing such claim until the earlier of (i) the underlying debt determined under applicable non-bankruptcy law is
   paid in full, or (ii) entry of the discharge; provided, however, that entry of the discharge shall not release a lien that secures
   a claim subject to treatment under 11 U.S.C. § 1322(b)(5). Upon the occurrence of (i) or (ii) above, the holder shall release
   its lien and provide written evidence of the same to the Debtor(s) within 30 days after (i) or (ii) above. Notwithstanding the
   foregoing, if this case of the Debtor(s) under Chapter 13 is dismissed or converted without completion of the Plan, the holder
   of such claim shall retain its lien to the extent recognized by applicable non-bankruptcy law.
O. MODIFICATION OF THE AUTOMATIC STAY. Upon the filing of a motion for relief from the automatic stay, the Trustee shall
   suspend disbursement of funds to that creditor but shall hold said funds until further order of the Court. Upon entry of an
   order modifying the automatic stay and unless otherwise provided for in such order, the Trustee shall not disburse held or
   on-going payments to that creditor on that claim, until creditor files an amended claim or Debtor(s) file(s) an amended Plan
   directing the Trustee how to pay creditor’s claim. Such amended proof of claim or Plan amendment shall be filed within 120
   days after entry of the order modifying the automatic stay. An amended claim filed by such creditor shall be afforded the
   same secured status as provided for under the Plan. If a creditor fails to file an amended claim or Debtor(s) fail(s) to file an
   amended Plan directing the Trustee how to pay creditor’s claim within 120 days of the entry of the order modifying the
   automatic stay, any held amounts shall be released for the benefit of the other creditors in accordance with the confirmed
   Plan and Trustee shall cease holding any future funds for on-going payments on such claim unless otherwise ordered by the
   Court. However, if a creditor files a claim after the order modifying the automatic stay and the confirmed Plan directed that
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     such creditor was to be paid directly by Debtor(s) on such claim, such claim will not be paid by the Trustee.
P.   NOTICE OF FEES, EXPENSES AND CHARGES PURSUANT TO FED. R. BANKR. P. 3002.1. The claim evidenced by notice of fees,
     expenses and charges pursuant to Fed. R. Bankr. P. 3002.1 will be treated as a separate debt or claim consistent with
     treatment of the underlying claim provided for under the Plan.
Q. NON-APPLICABILITY OF FED. R. BANKR. P. 3002.1. The requirements and provisions of Fed. R. Bankr. P. 3002.1 shall not apply
   to the Trustee in any chapter 13 case where the Plan as confirmed surrenders property to the creditor as provided in 11 U.S.C.
   § 1325(a)(5)(C) or proposes that Debtor(s) pay the creditor directly or to any claim as to which the automatic stay is modified
   for purposes of allowing the secured creditor to exercise its rights and remedies pursuant to applicable non- bankruptcy law.


R.   NONSTANDARD PROVISIONS. Nonstandard provisions must be set forth below. A nonstandard provision is a provision
     deviating from, or not otherwise included, in the Model Plan adopted under LBR 3015(d)(1). Nonstandard provisions set
     out elsewhere in this Plan are ineffective and void. The following Plan provisions will be effective only if there is a check in
     the box “Included” in the Preamble.

     1. IRS priority tax debt. The Debtor will pay as much of the IRS priority tax debt as he can during the 60 month
        applicable commitment period. If the Debtor is unable to fully pay the IRS priority tax debt within 60 months, the
        balance of the IRS priority tax debt will remain non-dischargeable after plan completion and the Debtor will
        continue to pay it after the bankruptcy discharge. The balance of the IRS priority tax debt will not prevent
        Debtor’s plan from completing.




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BY FILING THIS DOCUMENT, THE ATTORNEY FOR THE DEBTOR(S) OR DEBTOR(S) THEMSELVES, IF NOT REPRESENTED BY AN ATTORNEY,
ALSO CERTIFY(IES) THAT THE WORDING AND ORDER OF THE PROVISIONS IN THIS CHAPTER 13 PLAN ARE IDENTICAL TO THOSE
CONTAINED IN THE APPROVED MODEL PLAN PURSUANT TO LOCAL BANKRUPTCY RULE 3015(d) FOR THE WESTERN DISTRICT OF
MICHIGAN BANKRUPTCY COURT, OTHER THAN ANY NONSTANDARD PROVISIONS INCLUDED IN PARAGRAPH IV.R.




Date: 7/18/2023                                         /s/ Perry Holden II

                                                                                Perry Holden II, Debtor


Date: 7/18/2023                                         /s/ April Hulst

                                                                                    April Hulst, Counsel for the Debtor(s)




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